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JODY WOOD
8 UNITED STATES DISTRICT COURT
9
10 CENTRAL DISTRICT OF CALIFORNIA
= 11 JODY WOOD, Case No:
© 12 Plaintiff, COMPLAINT FOR BENEFITS UNDER
unaal AN EMPLOYEE WELFARE BENEFIT
A 13 vs. PLAN
= 14 THE PRUDENTIAL INSURANCE
© 45 COMPANY OF AMERICA; and,
Cy CATHOLIC HEALTH INITIATIVES LONG
16 TERM DISABILITY PLAN,
7 Defendants.
18
19
20 Plaintiff alleges as follows:
24 1, This Court's jurisdiction is invoked pursuant to 28 U.S.C. §§ 1331, 1337
22 and 29 U.S.C. § 1132(a), (e), (f), and (g), of the Employee Retirement Income Security
23 Act of 1974, 29 U.S.C. § 1101, ef seg. (hereafter "ERISA") as it involves a claim by
24 Plaintiff for disability benefits under an employee benefit plan regulated and governed
25 under ERISA. Jurisdiction is predicated under these code sections as well as 28 U.S.C.
26 § 1331 as this action involves a federal question.
27 2. The ERISA statute at 29 U.S.C. § 1133, in accordance with Regulations of
28 the Secretary of Labor, provides a mechanism for internal appeal of benefit denials.

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Those avenues of appeal have been exhausted.

3. Plaintiff is informed and believes and thereon alleges that Catholic Health
Initiatives Group Long Term Disability Plan (“Plan”) is an employee welfare benefit plan
established and maintained by Catholic Health Initiatives (‘CATHOLIC’) to provide its
employees and those of its subsidiaries and affiliates, including Plaintiff, JODY WOOD

Administrator.
4. Plaintiff alleges upon information and belief that Defendant THE

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6 (“Mr. WOOD’), with income protection in the event of a disability and is the Plan

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9 PRUDENTIAL LIFE INSURANCE COMPANY OF AMERICA (“PRUDENTIAL’), is, and
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1 at all relevant times was, a corporation duly organized and existing under and by virtue
= 11 of the laws of the State of New Jersey, authorized to transact and transacting the
« 12 business of insurance in this state, and, the insurer and Claims Administrator for the
YI 13-~~—sO~Pilan.
Cc 14 5. Plaintiff further alleges that venue is proper in this district pursuant to 29
A 15 U.S.C. § 1132(e)(2) in that defendant PRUDENTIAL, which fully insured the policy and
won

16 which is ultimately liable if Plaintiff is found disabled, may be found in this district. Since on

17 or about May 13, 1901, PRUDENTIAL has been registered as a corporation with the state

 

18 of California, has extensive contacts within the state, employs California residents,

19 conducts ongoing business within the state and therefore, may be found within the state.
20 6. At all relevant times Plaintiff was a resident and citizen of the United

21 States, an employee of CATHOLIC, its successors, affiliates and/or subsidiaries, and a
22 participant in the Plan.

23 7. Based upon information and belief, Plaintiff alleges that at all relevant

24 times herein Plaintiff was covered under group disability policy number GD-49038-CO
25 that had been issued by Defendant PRUDENTIAL to insure the Plan, and the eligible
26 participants and beneficiaries of the Plan, including Plaintiff.

27 8. The Plan defines “Disability” or “Disabled” as follows: For the first 24

28 months of disability payments You are unable to perform the material and substantial

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1 duties of your regular occupation due to your sickness or injury and you are under the
2 regular care of a doctor; and you have a 20% or more loss in your monthly earnings due
3 to that sickness or injury. Thereafter: You are unable to perform the duties of any gainful
4 occupation for which you are reasonably fitted by education, training, or experience; and
5 you are under the regular care of a doctor.
6 9. Based upon information and belief, Plaintiff alleges that the Plan promised
7 to pay Plaintiff Long Term Disability benefits for a period of time should he become
8 disabled. Therefore, Defendant, PRUDENTIAL, both funds the benefits and decides if
9 claimants will receive benefits under the Plan, and as such suffers from a structural
10 conflict of interest.
= 11 10. Prior to his disability under the plan, Mr. WOOD was working as a
a 12 Maintenance Engineer.
V) 13 11. Onor about October 4, 2018, Plaintiff became disabled under the terms of
c 14 the Plan due to pain imposed by his left inguinal hernia and migraine headaches.
© 15 12. Onor about October 8, 2018, Curtis Hesse, D.O., a specialist in Family
(a 16 Medicine, provided a description of Mr. WOOD’s current symptomatology. The doctor
/ an 17 reported that his patient was experiencing moderate pain in his suprapubic area due to
18 his hernia and could not sit down on the exam table without a lot of discomfort.
19 13. Onor about October 16, 2018, Jacqueline Crampton, an Advanced
20 Registered Nurse Practitioner (ARNP), stated that Plaintiffs current diagnosis was left
21 inguinal hernia with acute right inguinalfesticular pain and that his current absence from
22 work was medically necessary. Mr. WOOD’s current return to work date was unknown
23 at this time, and he had also been referred to a general surgeon for further consultation.
24 14. Onor about December 14, 2018, Michelle Doty, ARNP, reported that
25 Plaintiff had a double hernia repair on November 1, 2018, and that there was currently a
26 rash around the incision sites. Headaches, vomiting, and abdominal pain were

27 described as Mr. WOOD's primary symptoms at this time.

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1 15. Onor about January 11, 2019, Nurse Doty indicated that Plaintiff's
2 headaches had persisted to this date. Mr. WOOD’s headaches were said to start at the
3 base of his head and left side of his neck with pain radiating into his lower back.
4 Photophobia, vision changes, and an aura with halos were also reported.
5 16. Onor about January 21, 2019, Nurse Doty completed an Attending
6 Physician Statement detailing Plaintiff's current condition. Mr. WOOD’s primary
7 diagnosis was noted to be “Bilateral hernia repair’ with his secondary diagnosis noted to
8 include “migraine.” The nurse also indicated that Plaintiffs absence from work was
i) medically necessary at this time.
10 17. Onor about February 11, 2019, Dr. Hesse reported that Plaintiff was
s 11 continuing to experience migraine headaches. Mr. WOOD's pain relating to these
« 12 headaches was described as moderate-to-moderately severe.
YI 13 18. Onorabout March 12, 2019, Elizabeth Hartman, M.D., a Neurologist who
c 14 has treated Plaintiff, indicated that while Mr. WOOD has dealt with headaches before,
© 15 the headaches had started to progressively worsen over the past six months.
(OQ 16 Associated symptoms included blurred vision, irritability, poor sleep, and severe pain.
ee 17 19. Onor about March 28, 2019, Plaintiff underwent an MRI examination of
18 his brain at CNOS. The examination revealed “a few small scattered foci of FLAIR
19 signal hyper-intensity in subcortical white matter bilateral frontal lobes.” These foci were
20 further noted to be “seen in patients with chronic migraine headaches.”
21 20. Onor about September 26, 2019, Nurse Crampton wrote a letter
22 describing the effectiveness of medication on controlling Plaintiffs symptoms. The
23 nurse indicated that Mr. WOOD’s prescribed medications have only been partially
24 effective in controlling his headache pain, fatigue, mental fog, and night sweats. Nurse
25 Crampton went on to say that the severity of Plaintiff's current symptomatology, even on
26 medication, was enough to render him unable to perform his own occupation at this
27 time.
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4 21.  Onor about October 1, 2019, Dr. Hartman documented that Plaintiff's
headaches varied in severity and that they almost always occurred in the occipital
region of his head, and that he sees a flashing light with severe headaches even when
he closes his eyes.

22.  Onor about October 10, 2019, Dr. Hartman completed a Capacity
Questionnaire; the doctor stated that Mr. WOOD would need to avoid heavy lifting,
bright/fluorescent lights, loud noises and extreme temperatures. He would also need to
have 15-minute breaks every two hours.

23. Onor about March 26, 2020, Allison Owings, a Nurse Practitioner,

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detailed her findings from a telephone encounter with Plaintiff. Nurse Owings indicated
11 that Mr. WOOD told her that he was experiencing 14 severe headache days a month

12 and had set up a bed in his walk-in closet so he has a dark place to relax when he has a
13 severe headache. Fatigue was also mentioned to be a significant symptom in relation
14 to Plaintiffs headaches.

15 24. Plaintiff was initially approved for benefits based on his onset date of

16 October 4, 2018, and paid for the period from April 2, 2019 through August 31, 2019. In

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17 correspondence dated September 5, 2019, PRUDENTIAL unreasonably and unlawfully
18 denied Mr. WOOD's claim, stating that he was no longer disabled. PRUDENTIAL

 

19 subsequently upheld its unreasonable and unlawful denial in correspondence dated

20 December 30, 2019, and again on August 7, 2020.

21 25. According to PRUDENTIAL’s denial letters:
22 e September 5, 2019: “After careful review, we have terminated your
23 claim and no further benefits are payable. [...] lf you disagree with this
24 decision you have the right to appeal.”
25 e December 30, 2019: “We have completed our review of your first
26 request for reconsideration of our decision to terminate your claim for
27 Long Term Disability (LTD) benefits under the Group Policy No. 49038
28 issued to Catholic Health Initiatives. We have determined that our

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1 decision was appropriate and have upheld our decision to terminate
2 your claim for LTD benefits. [...] You may again appeal this decision to
3 Prudential’s Appeals Review Unit for a final decision.”
4 e August 7, 2019: “We have determined that our decision was
5 appropriate and have upheld our decision. [...] This decision is final
6 and cannot be appealed further to Prudential. If you still disagree with
7 the above decision, you may file a lawsuit under the Employee
8 Retirement Income Security Act (ERISA).”
9 26. To date, even though Plaintiff has been disabled, PRUDENTIAL has not
10 paid Mr. WOOD disability benefits under the Policy since on or about August 31, 2019.
= 11 The unlawful nature of PRUDENTIAL’s denial decision is evidenced by, but not limited
a 142 to, the following:
0 13 e PRUDENTIAL ignored the obvious, combed the record, and took
= 14 selective evidence out of context as a pretext to deny Plaintiff's claim;
© 15 and
(I 16 e PRUDENTIAL failed to give appropriate weight to Plaintiffs
17 consistently and well documented reports of pain and limited functional
18 capacity;
19 e PRUDENTIAL ignored the opinions of Plaintiff's board certified treating
20 physicians and/or misrepresented the opinions of Plaintiff's treating
21 physicians. Deference should be given to the treating physicians’
22 opinions as there are no specific, legitimate reasons for rejecting the
23 treating physicians’ opinions which are based on substantial evidence
24 in the claim file. Further, PRUDENTIAL’S highly conflicted physicians’
25 opinions do not serve as substantial evidence as they are not
26 supported by evidence in the claim file nor are they consistent with the
27 overall evidence in the claim file.
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2/. For all the reasons set forth above, the decision to deny disability
insurance benefits was wrongful, unreasonable, irrational, sorely contrary to the
evidence, contrary to the terms of the Plan, and contrary to law. Further, Defendant
PRUDENTIAL’s denial decision and actions heighten the level of skepticism with which
a court views a conflicted administrator's decision under Abatie v. Alta Health & Life
Insurance Co., 458 F.3d 955 (9th Cir. 2006) and Metropolitan Life Insurance Co. v.
Glenn, 128 S. Ct. 2342 (2008).

28. Additionally, ERISA imposes higher-than-marketplace quality standards

on insurers. It sets forth a special standard of care upon a plan administrator, namely,

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that the administrator “discharge [its] duties” in respect to discretionary claims

11 processing “solely in the interests of the participants and beneficiaries” of the plan, §
12 1104(a)(1); it simultaneously underscores the particular importance of accurate claims
13 processing by insisting that administrators “provide a ‘full and fair review’ of claim

14 denials,” Firestone, 489 U.S., at 113 (quoting § 1133(2)): and it supplements

15 marketplace and regulatory controls with judicial review of individual claim denials, see
16 § 1132(a)(1)(B).

17 29.  Asadirect and proximate result of PRUDENTIAL’s failure to provide

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18 Plaintiff with disability benefits, Plaintiff has been deprived of said disability benefits from
19 on or about September 1, 2019, to the present.

20 30. Asa further direct and proximate result of the denial of benefits, Plaintiff
21 has incurred attorney fees and costs to pursue this action, and is entitled to have such
22 fees and costs paid by Defendant pursuant to 29 U.S.C. § 1132(g)(1), ERISA §

23 502(g)(1).

24 31. A controversy now exists between the parties as to whether Plaintiff is

25 disabled as defined in the Plan. Plaintiff seeks the declaration of this Court that he

26 meets the Plan definition of disability and consequently he is entitled to all benefits from
27 the Plan to which he might be entitled while receiving disability benefits including, but

28 not limited to, reimbursement of all expenses and premiums paid for such benefits from

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the termination of benefits to the present. In the alternative, Plaintiff seeks a remand for

  

 

2 a determination of Plaintiffs claim consistent with the terms of the Plan.
3 WHEREFORE, Plaintiff prays for relief against Defendant as follows:
4 1. An award of benefits in the amount not paid Plaintiff from September 1,
5 2019, to the present, together with interest at the legal rate on each monthly payment
6 from the date it became due until the date it is paid; plus all other benefits from the Plan
7 to which he might be entitled while receiving disability benefits including, but not limited
8 to, reimbursement of all expenses and premiums paid for such benefits or, in the
9 alternative, a remand for a determination of Plaintiff's claim consistent with the terms of
10 the Plan;
Ss 11 2. An order determining that Plaintiff is entitled to future payments so long as
« 12 he remains disabled as defined in the Plan;
WV 13 3. For reasonable attorney fees and costs incurred in this action; and
c 14 4. For such other and further relief as the Court deems just and proper.
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20 Dated: January 26, 2021 DarrasLaw
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0 QE LEZ
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24 PHILLIP S. BATHER
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25 JODY WOOD
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